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Attorney for Plaintiff

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

MICHAEL SCAVO, individually and ) Case No. 2:17-cv-03899-GEKP

on behalf of all others similarly situated, )
) CLASS ACTION

 

Plaintiff, )

) FIRST AMENDED COMPLAINT

vs. ) FOR VIOLATIONS OF:

)
ACCOUNT DISCOVERY SYSTEMS, ) |. COMPLAINT FOR VIOLATION
LLC, and DOES 1 through 10, ) COLLECTION PRACTICES ACT
inclusive, and each of them, )

) DEMAND FOR JURY TRIAL
Defendant. )

)

)

)

 

Plaintiff MICHAEL SCAVO (“Plaintiff”), individually and on behalf of all
others similarly situated, alleges the following upon information and belief based
upon personal knowledge:

NATURE OF THE CASE

1. Plaintiff brings this action individually and on behalf of all others
similarly situated seeking damages and any other available legal or equitable
remedies resulting from the illegal actions of ACCOUNT DISCOVERY
SYSTEMS, LLC (“Defendant”).

 

 

 

CLASS ACTION COMPLAINT
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JURISDICTION & VENUE

2. Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
a Pennsylvania resident, seeks relief on behalf of a Class, which will result in at
least one class member belonging to a different state than that of Defendant, an
New York company. Plaintiff also seeks up to $1,500.00 in damages for each call
in violation of the TCPA, which, when aggregated among a proposed class in the
thousands, exceeds the $5,000,000.00 threshold for federal court jurisdiction.
Therefore, both diversity jurisdiction and the damages threshold under the Class
Action Fairness Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.

3. Venue is proper in the United States District Court for the Eastern
District of Pennsylvania pursuant to 28 U.S.C. § 1391(b)(2) because Defendant
does business within the State of Pennsylvania and Plaintiff resides within
Delaware County in the State of Pennsylvania.

PARTIES

4. Plaintiff, MICHAEL SCAVO (“Plaintiff”), is a natural person
residing in Delaware County, Pennsylvania and is a “person” as defined by 47
U.S.C. § 153 (39).

5. Defendant, ACCOUNT DISCOVERY SYSTEMS, LLC
(“Defendant”) is a debt collection company, and is a “person” as defined by 47
U.S.C. § 153 (39).

6. The above named Defendant, and its subsidiaries and agents, are
collectively referred to as “Defendants.” The true names and capacities of the
Defendants sued herein as DOE DEFENDANTS | through 10, inclusive, are
currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
names. Each of the Defendants designated herein as a DOE is legally responsible
for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
Complaint to reflect the true names and capacities of the DOE Defendants when

such identities become known.

 

 

 

CLASS ACTION COMPLAINT
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7. Plaintiff is informed and believes that at all relevant times, each and
every Defendant was acting as an agent and/or employee of each of the other
Defendants and was acting within the course and scope of said agency and/or
employment with the full knowledge and consent of each of the other Defendants.
Plaintiff is informed and believes that each of the acts and/or omissions complained
of herein was made known to, and ratified by, each of the other Defendants.

FACTUAL ALLEGATIONS

8. Beginning within the last year, Defendant contacted Plaintiff on
Plaintiff's cellular telephone number ending in -8055, in an attempt to collect on
an alleged debt.

9. Defendant called Plaintiff multiple times in connection with collection
on an alleged debt.

10. Defendant left Plaintiff several voice messages with call back
numbers, including without limitation, (716) 562-3709.

11. Defendant called and left voice messages on the telephones of third
parties, including without limitation, Plaintiffs mother, in connection with
collection on the alleged debt from Plaintiff.

12. Defendant placed multiple collection calls to Plaintiff on his cellular
telephone ending in -8055 within the last year.

13. Plaintiff received numerous collection calls from Defendant within a
12-month period.

14. Defendant contacted Plaintiffs in a manner that would constitute
harassment, annoyance, and abuse.

15. Defendant contacted Plaintiffs at times known to be inconvenient for
Plaintiff.

16. Defendant caused Plaintiffs’ telephone to ring in a manner that would
constitute harassment.

17. Defendant denies doing anything wrong.

 

 

 

CLASS ACTION COMPLAINT
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18. Defendant’s conduct violated the FDCPA in multiple ways, including
but not limited to:
a. Causing a telephone to ring repeatedly or continuously to annoy
Plaintiff (Cal Civ Code §1788.11(d));

b. Communicating, by telephone or in person, with Plaintiff with such
frequency as to be unreasonable and to constitute an harassment to

Plaintiff under the circumstances (Cal Civ Code §1788.11(e));

c. Causing Plaintiffs telephone to ring repeatedly or continuously

with intent to harass, annoy or abuse Plaintiff (§1692d(5)); and

d. Communicating with Plaintiff at times or places which were
known or should have been known to be inconvenient for Plaintiff
(§1692c¢(a)(1)).

COUNT I: VIOLATION OF FAIR DEBT
COLLECTION PRACTICES ACT
19. Plaintiff reincorporates by reference all of the preceding paragraphs.
JURY DEMAND
20. Pursuant to the Seventh Amendment to the Constitution of the United

States of America, Plaintiff is entitled to, and demands, a trial by jury.

Respectfully Submitted this 20th Day of October, 2017.
LAW OFFICES OF TODD M. FRIEDMAN, P.C.

By: /s Cynthia Z. Levin
Cynthia Z. Levin, Esq.
Law Offices of Todd M. Friedman, P.C.
Attorney for Plaintiff

 

 

 

CLASS ACTION COMPLAINT
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PROOF OF SERVICE

 

1 am employed in the County of Los Angeles, State of California. I am over the age of 18
and not a party to the within action. My business Address is 21550 Oxnard St., Suite 780
Woodland Hills, CA 91367.

On October 20, 2017, I served the following document(s) described as: FIRST
AMENDED COMPLAINT on all interested parties in this action by placing:

[ X]
[ ]

A true copy
the original thereof enclosed in sealed envelope(s) addressed as follows:

 

 

Brendan H. Little Eastern District of Pennsylvania U.S.

Lippes Mathias Wexler Friedman LLP

Courthouse 601 Market Street, Room

50 Fountain Plaza, Suite 1700 2609 Philadelphia, PA 19106-1797

Buffalo, NY 14202

 

 

 

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BY FACSIMILE -— The facsimile machine used complied with Rule 2003(3) and
no error was reported by the machine. Pursuant to Rule 2008(e)(4), caused the
machine to print a record of the transmission.

BY ELECTRONIC SERVICE -— | transmitted a PDF version of this document by
electronic mail to the party(s) identified above using the e-mail address(es)
indicated..

BY MAIL I deposited such envelope in the mail at Woodland Hills, California.
The envelope was mailed with postage thereon fully prepaid. I am “readily
familiar” with the firm’s practice of collection and processing correspondence for
mailing. Under that practice it would be deposited with the U.S. Postal Service on
that same day with postage thereon fully prepaid at Woodland Hills, California in
the ordinary course of business. I am aware that on motion of the party served,
service is presumed invalid if postal cancellation date or postage meter date is more
than (1) day after date of deposit for mailing in affidavit.

STATE — I declare under penalty of perjury under the laws of the State of
California that the above is true and correct.

Executed on October 20, 2017, at WOODLAND HILLS, California.

By:

 

Ygel/S. Hanohov

 

 

 
